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     8                      UNITED STATES DISTRICT COURT
     9                    CENTRAL DISTRICT OF CALIFORNIA
    10
    11    TOM SCHMIDT,                     )   CASE NO. CV 16-9368 DSF (AGRx)
                                           )
    12                                     )   ORDER RE JURY TRIAL
                          Plaintiff(s),    )
    13                                     )   I. E-FILING REQUIREMENTS
                                           )   II. DEADLINES:
    14   v.                                )
                                           )   A. Adding Parties or Amending
    15   SHERRI ANND BALDY,                )      Pleadings: 12/18/17;
                                           )
    16                                     )   B. Discovery Cut-off: 7/12/18;
                                           )
    17                    Defendant(s).    )   C. Expert Witness Exchange Deadline:
                                           )      Initial: 6/26/18;
    18                                     )      Rebuttal: 7/16/18;
                                           )      Cut-off: 8/6/18;
    19
                                               D. Motion Hearing Cut-off: 8/27/18;
    20
                                               E. ADR Cut-off: 9/11/18;
    21
                                               F. Lodge Pretrial Conference Order,
    22                                         etc: 10/23/18;
    23                                         G. File Memo of Contentions, etc.:
                                               10/16/18;
    24
                                               H. Final Pretrial Conference:
    25                                          11/5/18 @ 3:00 pm;
    26                                         I. Trial Date: 12/4/18 @ 8:30 am (3 day
                                               est.)
    27
                                               III.   TRIAL PREPARATION
    28
                                               IV.    CONDUCT OF ATTORNEYS
         revised 10-11
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     1           AND PARTIES
     2
     3
                                                   I
     4
     5
                                   E-FILING REQUIREMENTS
     6
                 Mandatory paper Chambers copies of all e-filed documents must be
     7
         delivered to Judge Fischer’s box across from the Clerk’s office on the first floor of
     8
         the Roybal Federal Building - by noon on the day after filing. Documents will not
     9
         be considered until paper Chambers copies are submitted. Attach the NEF to the
    10
         BACK of the Chambers copy. Chambers copies delivered by Federal Express
    11
         should not require the signature of the recipient. The Court will not rule on
    12
         stipulations, ex parte applications, etc. until the mandatory paper Chambers copies
    13
         have been received.
    14
    15
                                                  II
    16
                                            DEADLINES
    17
    18
                 A.      PARTIES/PLEADINGS
    19
                 The Court has established a cut-off date for adding parties or amending
    20
         pleadings. All motions to add parties or to amend the pleadings must be noticed
    21
         to be heard on or before the cut-off date. All unserved parties will be dismissed at
    22
         the time of the pretrial conference pursuant to Local Rule 16-8.1.
    23
                 B.      DISCOVERY AND DISCOVERY CUT-OFF
    24
                 1. Discovery Cut-off: The Court has established a cut-off date for
    25
         discovery, including expert discovery, if applicable. This is not the date by which
    26
         discovery requests must be served; it is the date by which all discovery, including
    27
         all hearings on any related motions, is to be completed.
    28
                 2. Discovery Disputes: Counsel are expected to comply with all Local
         revised 10-11                            -2-
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     1   Rules and the Federal Rules of Civil Procedure concerning discovery. Whenever
     2   possible, the Court expects counsel to resolve discovery problems among
     3   themselves in a courteous, reasonable, and professional manner. The Court
     4   expects that counsel will adhere strictly to the Civility and Professionalism
     5   Guidelines, which can be found on the Court’s website under “Attorney
     6   Information> Attorney Admissions.”
     7           3. Discovery Motions: Any motion challenging the adequacy of discovery
     8   responses must be filed, served, and calendared sufficiently in advance of the
     9   discovery cut-off date to permit the responses to be obtained before that date, if
    10   the motion is granted.
    11           4. Depositions: All depositions must commence sufficiently in advance of
    12   the discovery cut-off date to permit their completion and to permit the deposing
    13   party enough time to bring any discovery motions concerning the deposition
    14   before the cut-off date. Given the requirements to “meet and confer,” and notice
    15   requirements, in most cases a planned motion to compel must be discussed with
    16   opposing counsel at least six weeks before the cut-off.
    17           5. Written Discovery: All interrogatories, requests for production of
    18   documents, and requests for admissions must be served sufficiently in advance of
    19   the discovery cut-off date to permit the discovering party enough time to
    20   challenge (via motion practice) responses deemed to be deficient.
    21           6. Expert Discovery: All disclosures must be made in writing. The parties
    22   should begin expert discovery shortly after the initial designation of experts. The
    23   final pretrial conference and trial dates will not be continued merely because
    24   expert discovery is not completed. Failure to comply with these or any other
    25   orders concerning expert discovery may result in the expert being excluded as a
    26   witness.
    27           C.      LAW AND MOTION
    28           The Court has established a cut-off date for the hearing of motions. All
         revised 10-11                            -3-
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     1   motions must be noticed so that the hearing takes place on or before the motion
     2   cut-off date. Counsel must provide Chambers with conformed Chambers copies
     3   of all documents. Chambers copies should not be put in envelopes. Counsel
     4   should consult the Court’s Standing Order, previously provided, to determine the
     5   Court’s requirements concerning motions. A copy of the Standing Order is also
     6   available on the Court’s website at www.cacd.uscourts.gov>Judges’ Procedures
     7   and Schedules>Hon. Dale S. Fischer.
     8           D.      FINAL PRETRIAL CONFERENCE
     9           1. A final pretrial conference date has been set pursuant to Rule 16 of the
    10   Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for good
    11   cause, each party appearing in this action shall be represented at the final pretrial
    12   conference by the attorney who is to have charge of the conduct of the trial on
    13   behalf of such party. Counsel should be prepared to discuss streamlining the trial,
    14   including presentation of testimony by deposition excerpts or summaries, time
    15   limits, stipulations as to undisputed facts, and admission of exhibits.
    16           2. STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
    17   THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
    18   REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
    19   FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
    20   contentions of fact and law, witness lists, a joint exhibit list, and a proposed final
    21   pretrial conference order shall be submitted in accordance with the Rules, and the
    22   format of the proposed final pretrial conference order shall conform to the format
    23   set forth in Appendix A to the Local Rules. Failure of these documents to comply
    24   with these requirements may result in the final pretrial conference being taken off-
    25   calendar or continued, or in other sanctions.
    26           3. The memoranda of contentions of fact and law, witness lists, and the
    27   joint exhibit list must be filed not later than 21 days before the final pretrial
    28   conference, and the proposed final pretrial conference order is to be lodged not
         revised 10-11                             -4-
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     1   later than 11 days before the final pretrial conference.
     2           4. In addition to the requirements of Local Rule 16, the witness lists must
     3   include a brief (one or two paragraph) description of the testimony, and a time
     4   estimate for both direct and cross-examination (separately stated). A separate
     5   version of the witness list containing only the names of the witness and a separate
     6   column to insert the dates on which the witness testified, and the joint exhibit list,
     7   must be submitted to the Chambers email box in Word or Word Perfect format.
     8   Mandatory paper Chambers copies must also be submitted.
     9           5. Other documents to be filed in preparation for, and issues to be
    10   addressed at, the final pretrial conference are discussed below.
    11           E.      ALTERNATIVE DISPUTE RESOLUTION (ADR)
    12                   PROCEDURES/NOTICE OF SETTLEMENT
    13           1. An ADR procedure must be identified in every case pursuant to Local
    14   Rule 16-15, et seq. Counsel must complete an ADR proceeding no later than the
    15   date set by the Court at the scheduling conference. Not to the exclusion of other
    16   procedures, the following are available:
    17                   (a)   a settlement conference before the magistrate
                               judge assigned to the case;
    18
                         (b)   a mediation before a neutral selected from
    19                         the Court Mediation Panel;
    20                   (c)   the employment (at the parties’ expense) of
                               a private judge, mediator, or arbitrator.
    21
                 If counsel have received a Notice to Parties of Court-Directed ADR
    22
         Program, the parties may choose option (2) or (3) instead, but may not choose
    23
         option (1).
    24
                 2. No case will proceed to trial unless all parties, including the principals of
    25
         all corporate parties, have appeared personally at an ADR proceeding.
    26
                 3. If settlement is reached, it must be reported immediately to the CRD as
    27
         required by Local Rule 16-15.7, regardless of the day or time settlement is
    28
         reached. In addition, counsel must immediately send a notification to the
         revised 10-11                             -5-
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     1   Chambers email box if a motion or other hearing is set or if trial is scheduled to
     2   occur within 30 days.
     3           4. In all cases set for jury trial, the parties must notify the Court no later
     4   than the Wednesday preceding the Tuesday trial date of any settlement so that the
     5   necessary arrangements can be made to schedule a different case for trial or notify
     6   the members of the public who would otherwise be reporting for jury duty that
     7   their services are not needed on that date.
     8           5. Failure to comply with these notification requirements will cause
     9   counsel/parties to be charged for the costs related to processing jurors and may
    10   result in the imposition of sanctions on counsel for one or more parties, their
    11   clients, or both.
    12
    13                                               III
    14                         ADDITIONAL TRIAL PREPARATION
    15
    16           A.      MOTIONS IN LIMINE
    17           All motions in limine must be filed at least three weeks before the final
    18   pretrial conference, or at such other time ordered by the Court. Counsel are to
    19   meet and confer with opposing counsel to determine whether opposing counsel
    20   intends to introduce the disputed evidence, etc. and to attempt to reach an
    21   agreement that would obviate the motion. Opposition must be filed two weeks
    22   before the final pretrial conference, or at such other time ordered by the Court.
    23   The Court generally will rule on motions in limine at the final pretrial conference.
    24   Motions in limine should address specific issues (i.e., not “to exclude all hearsay,”
    25   etc.). Motions in limine should not be disguised motions for summary
    26   adjudication of issues.
    27           B.      JURY INSTRUCTIONS, SPECIAL VERDICT FORMS, VOIR
    28                   DIRE, JURY SELECTION
         revised 10-11                              -6-
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     1           1. Fourteen days before the meeting of counsel required by Local Rule 16-
     2   2, plaintiff shall serve plaintiff’s proposed jury instructions and verdict/special
     3   verdict forms, and defendant shall serve defendant’s proposed jury instructions
     4   and verdict/special verdict forms. Within ten days each shall serve objections, if
     5   any, to the other’s instructions and verdict forms. Before or at the Rule 16-2
     6   meeting, counsel are ordered to meet and confer and attempt to come to agreement
     7   on the proposed jury instructions and verdict forms.
     8           2. When the Manual of Model Jury Instructions for the Ninth Circuit
     9   provides an applicable jury instruction, the parties should submit the most recent
    10   version, modified and supplemented to fit the circumstances of this case. Where
    11   language appears in brackets, the appropriate language should be selected. All
    12   blanks should be completed. Where California law applies, counsel should use
    13   the current edition of California Jury Instructions -- Civil (“BAJI” or “CACI”). If
    14   neither is applicable, counsel should consult the instructions manuals from other
    15   circuits or O’Malley, Grenig & Lee (formerly Devitt, et al.), Federal Jury Practice
    16   and Instructions (West Publishing Co., current edition). When submitting other
    17   than Ninth Circuit instructions, counsel should be sure that the law on which the
    18   instruction is based is the same as Ninth Circuit law (or California law, if
    19   applicable) on the subject. Counsel may submit alternatives to the Ninth Circuit
    20   model jury instructions, other circuit manuals, or O’Malley, Grenig & Lee
    21   instructions only if counsel has a reasoned argument that those instructions do not
    22   properly state the law or they are incomplete. Each requested instruction shall (a)
    23   cite the authority or source of the instruction, (b) be set forth in full, (c) be on a
    24   separate page, (d) be numbered, (e) cover only one subject or principle of law, and
    25   (f) not repeat principles of law contained in any other requested instruction.
    26           3. At the time of lodging the proposed final pretrial conference order,
    27   counsel shall file with the Court and submit (electronically to the Chambers email
    28   box and in paper form) a JOINT set of jury instructions on which there is
         revised 10-11                              -7-
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     1   agreement. All blanks in standard forms should be filled in. The Court expects
     2   counsel to agree on the substantial majority of jury instructions, particularly when
     3   pattern or model instructions provide a statement of applicable law. If one party
     4   fails to comply with the provisions of this section, the other party must file a
     5   unilateral set of jury instructions, unless that party wishes to waive jury trial.
     6            4. At the same time, each party shall file with the Court and submit
     7   (electronically to the Chambers email box and in paper form) its proposed jury
     8   instructions that are objected to by any other party. Each disputed instruction
     9   must have attached a short (one or two paragraph) statement, including points and
    10   authorities in support of the instruction as well as a brief statement, including
    11   points and authorities, in support of any objections. A proposed alternative
    12   instruction must be provided, if applicable. If the Court believes that there are so
    13   many disputed instructions that the trial would be unnecessarily interrupted in
    14   order for the Court to resolve disputes, the Court may determine that the matter is
    15   not yet ready to be tried, and may order counsel to continue to meet and confer
    16   until most of the disputes are resolved.
    17            5. Counsel must provide the documents described in paragraphs 3 and 4 to
    18   the Chambers email box in Word or WordPerfect 9 (or above) format at the time
    19   they file their proposed jury instructions.
    20            6. The Court will send one or more copies of the instructions into the jury
    21   room for the jury’s use during deliberations. Therefore, in addition to the copies
    22   described above, the Chambers email version must contain a “clean” set of jury
    23   instructions, containing only the text of the instruction (one per page) with the
    24   caption “Instruction No. __” at the top (eliminating titles, supporting authority,
    25   etc.).
    26            7. Counsel must provide an index of all instructions submitted, which must
    27   include the following:
    28                   a. The number of the instruction;
         revised 10-11                              -8-
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     1                   b. The title of the instruction;
     2                   c. the source of the instruction and any relevant case citations;
     3                   d. The page number of the instruction.
     4   For example:
     5           Number               Title                 Source            Page
     6           1             Preliminary Instruction 9th Cir. 15.0            7
     7                         Trademark
     8           8. FAILURE TO FOLLOW THE PRECEDING PROVISIONS OF
     9   THIS SECTION WILL SUBJECT THE NON-COMPLYING PARTY
    10   AND/OR ATTORNEY TO SANCTIONS AND WILL BE DEEMED TO
    11   CONSTITUTE A WAIVER OF JURY TRIAL.
    12           9. During the trial and before argument, the Court will meet with counsel
    13   and settle the instructions, and counsel will have an opportunity to make a further
    14   record concerning their objections.
    15           10. At the time of lodging the proposed final pretrial conference order,
    16   counsel should file a jointly prepared one or two page statement of the case to be
    17   read by the Court to the prospective panel of jurors before commencement of voir
    18   dire.
    19           11. The Court will conduct the voir dire. The Court provides a list of basic
    20   questions, and may provide a list of additional questions to jurors before voir dire.
    21   (This is not a questionnaire to be completed by jurors.) Counsel may, but are not
    22   required to, file and submit (electronically to the Chambers email box and in paper
    23   form) a list of proposed case-specific voir dire questions at the time they lodge the
    24   proposed final pretrial conference order.
    25           12. In most cases the Court will conduct its initial voir dire of 14
    26   prospective jurors who will be seated in the jury box. Generally the Court will
    27   select seven or eight jurors.
    28           13. Each side will have three peremptory challenges. If fourteen jurors are
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     1   seated in the box and all six peremptory challenges are exercised, the remaining
     2   eight jurors will constitute the jury panel. If fewer than six peremptory challenges
     3   are exercised, the eight jurors in the lowest numbered seats will be the jury. The
     4   Court will not necessarily accept a stipulation to a challenge for cause. If one or
     5   more challenges for cause are accepted, and all six peremptory challenges are
     6   exercised, the Court may decide to proceed with six or seven jurors.
     7           C.      TRIAL EXHIBITS, ETC.
     8           1. At least one week before trial, the parties must provide a case-specific
     9   glossary for the court reporter that includes applicable medical, scientific, or
    10   technical terms, slang, the names and spellings of case names likely to be cited,
    11   street/city/country names, all parties/entities involved in the case, names of people
    12   interviewed/deposed, names of family members, friends, or others who might be
    13   mentioned, and other case-specific terminology.
    14           2. Counsel shall provide the courtroom deputy clerk (CRD) with the
    15   following:
    16                   a. The party’s witness list, with a column to add the date on which
    17   the witness testified, which shall be sent in Word or WordPerfect format to the
    18   Chambers email box no later than noon on the Monday before trial;
    19                   b. The joint exhibit list in the form specified in Local Rule 16-5
    20   (Civil), which shall be sent in Word or WordPerfect format to the Chambers email
    21   box no later than noon on the Monday before trial;
    22                   c. All of the exhibits (except those to be used for impeachment only),
    23   with official exhibit tags attached and bearing the same number shown on the
    24   exhibit list. Exhibit tags may be obtained from the receptionist in the Public Intake
    25   Section, located on the Main Street level of the courthouse at 312 North Spring
    26   Street, Room G-19. Digital exhibit tags are also now available on the Court's
    27   website under Court Forms > General forms > Form G-14A (plaintiff) and G-14B
    28   (defendant). Digital exhibit tags may be used in place of the tags obtained from
         revised 10-11                             - 10 -
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     1   the Clerk’s Office. Exhibits shall be numbered 1, 2, 3, etc., NOT 1.1, 1.2, etc.
     2   The defense exhibit numbers shall not duplicate plaintiff’s numbers. If a “blow-
     3   up” is an enlargement of an existing exhibit, it shall be designated with the
     4   number of the original exhibit followed by an “A.” These items (and the items
     5   listed in d and e below) shall be provided on the first day of trial;
     6                   d. A three-ring binder containing a copy of all exhibits that can be
     7   reproduced, and a copy of the witness list. Each exhibit shall be tabbed with the
     8   exhibit number for easy referral;
     9                   e. A three-ring binder containing a copy of all exhibits for use by
    10   witnesses.
    11           3. A copy of the exhibit list with all admitted exhibits will be given to the
    12   jury during deliberations. Counsel shall review and approve the exhibit list with
    13   the CRD before the list is given to the jury.
    14           4. Where a significant number of exhibits will be admitted, the Court
    15   encourages counsel, preferably by agreement, to consider ways in which
    16   testimony about exhibits may be made intelligible to the jury while it is being
    17   presented. Counsel should consider such devices as overhead projectors, jury
    18   notebooks for admitted exhibits, or enlargements of important exhibits. The Court
    19   has an Elmo and other equipment available for use during trial. Information
    20   concerning training on the use of electronic equipment is available. Details are
    21   posted on the Court’s website. To make reservations for training, call 213-894-
    22   3061. The Court does not permit exhibits to be “published” by passing them up
    23   and down the jury box. Exhibits may be displayed briefly using the screens in the
    24   courtroom, unless the process becomes too time-consuming.
    25           5. All counsel are to meet not later than ten days before trial and to
    26   stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,
    27   and to those exhibits that may be received into evidence at the start of the trial.
    28   The exhibits to be so received will be noted on the Court’s copy of the exhibit list.
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     1           6. Counsel shall not attempt to display or use any charts or enlargements of
     2   exhibits unless all counsel have agreed to their use or objections have been heard
     3   and a ruling has been made.
     4           7. On the day of jury selection, trial will begin at 9:00 a.m. Counsel will
     5   appear at 8:30 a.m. Thereafter, trial days are Tuesday through Friday, 8:00 a.m. to
     6   2:00 p.m., with three fifteen-minute breaks during the session. When necessary,
     7   trials may continue beyond the normal schedule. If counsel contemplate that this
     8   schedule will be problematic due to the unavailability of witnesses, counsel should
     9   provide details to the Court at the Status Conference.
    10           8. On the day of jury selection, the Court reserves the time from 8:30 a.m.
    11   to 9:00 a.m. to handle legal and administrative matters. Jury selection will
    12   commence promptly at 9:00 a.m. or as soon as jurors are available. Thereafter,
    13   legal and administrative matters shall be addressed between 7:45 a.m. and 8:00
    14   a.m. All counsel are urged to anticipate matters that may need to be addressed
    15   outside of the presence of the jury and to raise them during this period, during
    16   breaks, or at the end of the day. The Court does not make jurors wait while
    17   counsel discuss matters that should have been addressed previously. Counsel are
    18   urged to consider any unusual substantive or evidentiary issues that may arise, and
    19   to advise the Court of such issues. Short briefs addressing such disputed issues
    20   are welcome.
    21           9. Before trial begins, the Court will give counsel an opportunity to discuss
    22   administrative matters and anticipated procedural or legal issues. Before trial
    23   begins, and as soon as the information becomes available to counsel, counsel
    24   should advise the court of any concerns or accommodations that are requested for
    25   parties or witnesses. During trial, if there are any matters to be discussed outside
    26   the presence of the jury, counsel shall advise the CRD of the request. The Court
    27   discourages sidebars during trial.
    28           10. All orders for transcripts must be ordered through the court reporter,
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     1   Pat Cuneo, who can be contacted through www.patcuneo.com.
     2
     3                                            IV
     4                     CONDUCT OF ATTORNEYS AND PARTIES
     5
     6           A.      OPENING STATEMENTS, EXAMINING WITNESSES, AND
     7                   SUMMATION
     8           1. Counsel must use the lectern for opening statements, examination of
     9   witnesses, and summation.
    10           2. Counsel must not consume time by writing out words, drawing charts or
    11   diagrams, etc. Counsel may do so in advance and explain that the item was
    12   prepared earlier as ordered by the Court to save time.
    13           3. The Court will honor (and may establish) reasonable time estimates for
    14   opening and closing arguments, examination of witnesses, etc.
    15           B.      OBJECTIONS TO QUESTIONS
    16           1. Counsel must not use objections for the purpose of making a speech,
    17   recapitulating testimony, or attempting to guide the witness.
    18           2. When objecting, counsel must rise to state the objection and state only
    19   that counsel objects and the legal ground of objection. If counsel wishes to argue
    20   an objection further, counsel must ask for permission to do so.
    21           C.      GENERAL DECORUM
    22           1. Counsel should not approach the CRD or the witness box without
    23   specific permission. If permission is given, counsel should return to the lectern
    24   when the purpose has been accomplished. Counsel should not question a witness
    25   at the witness stand.
    26           2. Counsel and parties should rise when addressing the Court, and when the
    27   Court or the jury enters or leaves the courtroom.
    28           3. Counsel should address all remarks to the Court. Counsel are not to
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     1   address the CRD, the court reporter, persons in the audience, or opposing counsel.
     2   If counsel wish to speak with opposing counsel, counsel must ask permission to
     3   do so. Any request for the re-reading of questions or answers shall be addressed
     4   to the Court. Such requests should be limited. Requests may not be granted.
     5           4. Counsel should not address or refer to witnesses or parties by first names
     6   alone. Young witnesses (under 14) may, however, be addressed and referred to by
     7   first names.
     8           5. Counsel must not offer a stipulation unless counsel has conferred with
     9   opposing counsel and has verified that the stipulation will be acceptable.
    10           6. While Court is in session, counsel must not leave counsel table to confer
    11   with any personnel or witnesses in the back of the courtroom unless permission
    12   has been granted in advance.
    13           7. Counsel should not by facial expression, nodding, or other conduct
    14   exhibit any opinion, adverse or favorable, concerning any testimony being given
    15   by a witness. Counsel should admonish counsel’s own clients and witnesses to
    16   avoid such conduct.
    17           8. Counsel should not talk to jurors at all, and should not talk to co-
    18   counsel, opposing counsel, witnesses or clients where the conversation can be
    19   overheard by jurors. Each counsel should admonish counsel’s own clients and
    20   witnesses to avoid such conduct.
    21           9. Where a party has more than one lawyer, only one may conduct the
    22   direct or cross-examination of a particular witness, or make objections as to that
    23   witness.
    24           D.      PROMPTNESS OF COUNSEL AND WITNESSES
    25           1. The Court makes every effort to begin proceedings at the time set.
    26   Promptness is expected from counsel and witnesses. Once counsel are engaged in
    27   trial, this trial is counsel’s first priority. The Court will not delay the trial or
    28   inconvenience jurors except under extraordinary circumstances. The Court will
         revised 10-11                              - 14 -
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     1   advise other courts that counsel are engaged in trial in this Court on request.
     2           2. If a witness was on the stand at a recess, counsel must have the witness
     3   back on the stand, ready to proceed, when the court session resumes.
     4           3. If a witness was on the stand at adjournment, counsel must have the
     5   witness adjacent to, but not on the stand, ready to proceed when the court session
     6   resumes.
     7           4. Counsel must notify the CRD in advance if any witness should be
     8   accommodated based on a disability or for other reasons.
     9           5. No presenting party may be without witnesses. If counsel has no more
    10   witnesses to call and there is more than a brief delay, the Court may deem that
    11   party to have rested.
    12           6. The Court attempts to cooperate with professional witnesses and will,
    13   except in extraordinary circumstances, accommodate them by permitting them to
    14   be called out of sequence. Counsel must anticipate any such possibility and
    15   discuss it with opposing counsel. If there is an objection, counsel must confer
    16   with the Court in advance.
    17           E.      EXHIBITS
    18           1. Each counsel should keep counsel’s own list of exhibits and should note
    19   when each has been admitted into evidence.
    20           2. Each counsel is responsible for any exhibits that counsel secures from
    21   the CRD and must return them before leaving the courtroom at the end of the
    22   session.
    23           3. An exhibit not previously marked should, at the time of its first mention,
    24   be accompanied by a request that the CRD mark it for identification. To save
    25   time, counsel must show a new exhibit to opposing counsel before it is mentioned
    26   in Court.
    27           4. Counsel are to advise the CRD of any agreements they have with respect
    28   to the proposed exhibits and as to those exhibits that may be received so that no
         revised 10-11                            - 15 -
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     1   further motion to admit need be made.
     2           5. When referring to an exhibit, counsel should refer to its exhibit number
     3   whenever possible. Witnesses should be asked to do the same.
     4           6. Counsel must not ask witnesses to draw charts or diagrams nor ask the
     5   Court’s permission for a witness to do so. If counsel wishes to question a witness
     6   in connection with graphic aids, the material must be fully prepared before the
     7   court session starts.
     8           F.      DEPOSITIONS
     9           1. All depositions to be used at trial, either as evidence or for impeachment,
    10   must be lodged with the CRD on the first day of trial or such earlier date as the
    11   Court may order. Counsel should verify with the CRD that the relevant deposition
    12   is in the CRD’s possession.
    13           2. In using depositions of an adverse party for impeachment, either one of
    14   the following procedures may be adopted:
    15                   a. If counsel wishes to read the questions and answers as alleged
    16   impeachment and ask the witness no further questions on that subject, counsel
    17   shall first state the page and line where the reading begins and the page and line
    18   where the reading ends, and allow time for any objection. Counsel may then read
    19   the portions of the deposition into the record.
    20                   b. If counsel wishes to ask the witness further questions on the
    21   subject matter, the deposition is placed in front of the witness and the witness is
    22   told to read silently the pages and lines involved. Then counsel may either ask the
    23   witness further questions on the matter and thereafter read the quotations, or read
    24   the quotations and thereafter ask further questions. Counsel should have an extra
    25   copy of the deposition for this purpose.
    26           3. Where a witness is absent and the witness’s testimony is offered by
    27   deposition, counsel may (a) have a reader occupy the witness chair and read the
    28   testimony of the witness while the examining lawyer asks the questions, or (b)
         revised 10-11                             - 16 -
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     1   have counsel read both the questions and answers.
     2         G.     USING NUMEROUS ANSWERS TO INTERROGATORIES AND
     3                REQUESTS FOR ADMISSIONS
     4         Whenever counsel expects to offer a group of answers to interrogatories or
     5   requests for admissions extracted from one or more lengthy documents, counsel
     6   should prepare a new document listing each question and answer, and identifying
     7   the document from which it has been extracted. Copies of this new document
     8   should be given to the Court and opposing counsel. This procedure is intended to
     9   save time.
    10         H.     ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
    11         If any counsel has reason to anticipate that a difficult question of law or
    12   evidence will necessitate legal argument requiring research or briefing, counsel
    13   must give the Court advance notice. Counsel are directed to notify the CRD at the
    14   day’s adjournment if an unexpected legal issue arises that could not have been
    15   foreseen and addressed by a motion in limine. See Fed. R. Evid. 103. Counsel
    16   must also advise the CRD at the end of each trial day of any issues that must be
    17   addressed outside the presence of the jury, so that there is no interruption of the
    18   trial. THE COURT WILL NOT KEEP JURORS WAITING.
    19   N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES PARTIES
    20   APPEARING IN PROPRIA PERSONA.
    21
    22   IT IS SO ORDERED.
    23   DATED: 8/8/17                                        ____________ ___________
                                                                     Dale S. Fischer
    24                                                         United States District Judge
    25
    26
    27
    28
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                            UNITED STATES DISTRICT COURT
     9
                           CENTRAL DISTRICT OF CALIFORNIA
    10
                                            )   CASE NO. CV         DSF( x)
    11                                      )
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    12                                      )
                                            )
    13                    Plaintiff(s),     )
                                            )
    14   vs.                                )   EXHIBIT LIST
                                            )
    15                                      )
                                            )
    16                                      )     SAMPLE FORMAT
                                            )
    17                    Defendant(s).     )
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    20    EX. No.          DESCRIPTION                   IDENTIFIED    ADMITTED

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                                        Case 2:16-cv-09368-DSF-AGRFINAL
                                                                     Document     39WITNESS
                                                                        JOINT TRIAL    FiledESTIMATE
                                                                                              08/08/17
                                                                                                     FORM Page 19 of 19 Page ID #:266


 CASE:                                                                                                                                                                TRIAL DATE:




                       WITNESS NAME                                       PARTY CALLING                         X-EXAMINER'S                            DESCRIPTION OF TESTIMONY                                      COMMENTS

                                                                      WITNESS AND ESTIMATE                         ESTIMATE


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         TOTAL ESTIMATES THIS PAGE:



                                                                                                                    Instructions:

(1) List witnesses (last name first); (2) For description, be extremely brief, e.g., "eyewitness to accident" or "expert on standard of care;" (3) Use estimates within fractions of an hour, rounded off to closest quarter of an hour, e.g., if

you estimate 20 minutes, make it .25. An estimate of one and one-half hours would be 1.5. An estimate of three-quarters of an hour would be .75; (4) Note special factors in "Comments" column, e.g., "Needs interpreter;" (5) Entries

may be in handwriting if very neat and legible.
